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                                   STATEMENT OF FACTS

               Your affiant, Isaac McPheeters, is a Special Agent with the Federal Bureau of

Investigation (“FBI”), assigned to the Kansas City Division and tasked with investigating criminal

activity in and around the U.S. Capitol on January 6, 2021. As a Special Agent, I am authorized

by law or by a Government agency to engage in or supervise the prevention, detention,

investigation, or prosecution of violations of Federal criminal laws.

                      Background – The U.S. Capitol on January 6, 2021

               The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions

around the U.S. Capitol include permanent and temporary security barriers and posts manned by

U.S. Capitol Police. Only authorized people with appropriate identification were allowed access

inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed

to members of the public.

               On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately

1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.

Vice President Mike Pence was present and presiding, first in the joint session, and then in the

Senate chamber.

               As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the




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U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep

the crowd away from the Capitol building and the proceedings underway inside.

               At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,

around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking

windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged

and assisted those acts.

               Shortly thereafter, at approximately 2:20 p.m. members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session

of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice

President Pence remained in the United States Capitol from the time he was evacuated from the

Senate Chamber until the sessions resumed.

               During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.

                                 Facts Specific to this Complaint

               On or about February 5, 2021, a person known to the FBI submitted an online tip

to the FBI stating that CARA MAUREEN HENTSCHEL (“HENTSCHEL”) had posted

photographs to her Facebook account depicting her at the U.S. Capitol on January 6, 2021. The




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tipster included a link to HENTSCHEL’s Facbook profile. The tipster reported not knowing

HENTSCHEL personally and not knowing whether HENTSCHEL entered the Capitol.

               On or about March 8, 2021, after attempting to interview HENTSCHEL in person,

I contacted HENTSCHEL via telephone, at a phone number ending in -9493. 1 I identified myself

as an FBI Special Agent and explained that I was investigating crimes committed in and around

the U.S. Capitol on January 6, 2021. HENTSCHEL declined to answer any questions but stated

that she would cooperate if charged with a crime.

               According to records obtained through a search warrant served on Google, a mobile

device associated with a Gmail email address containing HENTSCHEL’s first and last name (the

“HENTSCHEL Gmail”) was present at the U.S. Capitol on January 6, 2021. Google estimates

device location using sources including GPS data and information about nearby Wi-Fi access

points and Bluetooth beacons. This location data varies in its accuracy, depending on the source(s)

of the data. As a result, Google assigns a “maps display radius” for each location data point. Thus,

where Google estimates that its location data is accurate to within 10 meters, Google assigns a

“maps display radius” of 10 meters to the location data point. Finally, Google reports that its “maps

display radius” reflects the actual location of the covered device approximately 68% of the time.

In this case, Google location data shows that a device associated with the HENTSCHEL Gmail

was within the U.S. Capitol or the restricted grounds from approximately 2:28 p.m. to

approximately 2:55 p.m. Google records show that the “maps display radius” for this location data

varied between more than and less than 100 feet, and thus encompassed an area that is partially

within the U.S. Capitol Building.




       1
              Unless otherwise noted, the email addresses and phone numbers referenced in this
Statement of Facts are known to the FBI but are anonymized due to the public nature of this filing.


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               The FBI obtained subscriber records from Google related to the HENTSCHEL

Gmail. This account was registered to HENTSCHEL, and it was associated with the telephone

number ending in -9493 and a Yahoo email address containing HENTSCHEL’s first and last name.

               According to records obtained through a search warrant served on Verizon

Wireless, on January 6, 2021, in and around the time of the incident, the cell phone associated with

HENTSCHEL’s phone number (ending in -9493) was identified as having utilized a cell site

consistent with providing service to a geographic area that includes the interior of the U.S. Capitol

Building.

               The FBI located and reviewed publicly available social media profiles associated

with HENTSCHEL’s name. For instance, the FBI located an Instagram account with the username

“carahentschel.” This account contained a post (Image 1) from January 6, 2021, showing a person

wearing a red, white, and blue stocking hat with the number “45” on it standing outside of the U.S.

Capitol amidst a large crowd. Based on my investigation, I recognize this person to be

HENTSCHEL.




                                              Image 1



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               Further, the FBI located a Facebook profile with HENTSCHEL’s name. On January

6, 2021, HENTSCHEL posted (Image 2), “The WASHINGTON DC POLICE DEPT murdered an

UNARMED woman tonight! The media seems to keep leaving out the fact that it was the COPS

who did that.” I observed that HENTSCHEL’s profile picture in this post appears to be a cropped

version of Image 1.




                                            Image 2

               HENTSCHEL’s Facebook profile also contained a photo (Image 3) posted on

January 8, 2021, captioned, “Patiently waiting for our wonderful President of the United States to

speak. Jan 6, 2020.” Again, I recognized HENTSCHEL in this photo. Also pictured in this photo,

on the left side of the photo, was another woman wearing a red, white, and blue stocking hat with

the number “45” on it. As described in greater detail below, based on witness interviews and

meeting her in person, I later identified this woman as MAHAILYA PRYER (“PRYER”).




                                            Image 3


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               Several other Facebook users wrote public comments in response to

HENTSCHEL’s picture (Image 4). One user (“PERSON 1”) wrote,

       Thank you for standing up!!!! Thank you for making history with me. [Three heart
       emojis] be proud patriots. Do not listen to those who don’t know what they are
       talking about. And always remember… others opinions of you, are none of your
       business…
       So I should never hear… “they said this about me”
       Other people’s opinions are of no value to any of us! Great job marching and
       standing.

HENTSCHEL replied, “[PERSON 1], I love you so much [nickname for PERSON 1]. An

experience of a lifetime. We are very lucky we got to go.”




                                             Image 4

               According to records obtained through a search warrant served on Verizon

Wireless, on January 6, 2021, in and around the time of the incident, the cell phone associated with

PRYER’s phone number (ending in -9645) was identified as having utilized a cell site consistent


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with providing service to a geographic area that includes the interior of the U.S. Capitol Building.

To my knowledge, the FBI has not identified a Google account belonging to PRYER and has not

obtained Google location data for PRYER.

               I obtained and reviewed U.S. Capitol surveillance video footage from January 6,

2021. I observed HENTSCHEL and PRYER entering the U.S. Capitol through the Rotunda Doors

at approximately 2:43 p.m. (Images 5 and 6). Both were wearing red, white and blue stocking hats

with the number “45” on them, the same as shown in Image 3. HENTSCHEL was wearing a dark

coat with a light face covering and a backpack slung over one shoulder. PRYER was wearing a

mask or neck gator and a dark outer garment with white text.




                                             Image 5




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                                            Image 6
              I also reviewed U.S. Capitol surveillance video footage showing HENTSCHEL and

PRYER in the U.S. Capitol Rotunda at approximately 2:50 p.m. (Image 7).




                                          Image 7


                                             8
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              Finally, I reviewed U.S. Capitol surveillance video footage that appeared to show

HENTSCHEL and PRYER exiting the U.S. Capitol Building through the Rotunda Doors at

approximately 2:51 p.m. (Images 8 and 9). My observations from the surveillance video footage

are consistent with the Google location data associated with HENTSCHEL’s mobile device, which

showed her as within the U.S. Capitol or the restricted grounds from approximately 2:28 p.m. to

approximately 2:55 p.m.




                                           Image 8




                                           Image 9


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               On or about June 3, 2021, I interviewed PERSON 1 by phone. PERSON 1 is

PRYER’s relative. PERSON 1 traveled to Washington, D.C., on January 5, 2021, with PRYER

and HENTSCHEL. PERSON 1 denied having done anything wrong on January 6 or having entered

the U.S. Capitol and did not appreciate what people did on January 6. 2

               On or about June 4, 2021, I interviewed PERSON 1 in person. PERSON 1 traveled

to Washington, D.C., on January 5, 2021, with PRYER, HENTSCHEL, and a relative (“PERSON

2”). I showed PERSON 1 a photo taken from HENTSCHEL’s Facebook account (a version of

which is labeled as Image 3, above). PERSON 1 identified PRYER and HENTSCHEL in the photo

and noted that PERSON 1 and PRYER (who are related) looked alike. PERSON 1 provided me

with PRYER’s cellular telephone number, which ends in -9645.

               During the interview, PERSON 1 explained that all four of them attended the rally

at which President Trump spoke on January 6, 2021. At some point, PERSON 1 and PERSON 2

became separated from HENTSCHEL and PRYER. PERSON 1 and PERSON 2 walked toward

the U.S. Capitol with the crowd but stopped at a barrier located between the Capitol lawn and 1st

Street NW. PERSON 1 believed crossing the barrier was prohibited.

               The FBI showed PERSON 1 screenshots of U.S. Capitol surveillance video. At

first, PERSON 1 did not identify anyone in the photos. Later on, PERSON 1 said one of the women

in the screenshots “looks like” PRYER and another woman “looks like” HENTSCHEL. PERSON

1 was angry that PRYER went inside the U.S. Capitol. PERSON 1 called PRYER during the

interview and told PRYER she should cooperate with the FBI. PERSON 1 made the call to PRYER


       2
               According to records obtained through a search warrant served on Verizon
Wireless, on January 6, 2021, in and around the time of the incident, the cell phone associated with
PERSON 1’s phone number was not identified as having utilized a cell site consistent with
providing service to a geographic area that includes the interior of the U.S. Capitol Building. To
my knowledge, the FBI has not identified a Google account belonging to PERSON 1 and has not
obtained Google location data for PERSON 1.

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without any direction from or request by the FBI. PRYER became angry and hung up on PERSON

1. PERSON 1 told the FBI that PERSON 1 would speak with PRYER and HENTSCHEL and

encourage them to cooperate with the investigation. The FBI did not request that PERSON 1 speak

with PRYER or HENTSCHEL or encourage them to cooperate with the investigation.

              On or about June 15, 2021, I spoke with PERSON 1 by telephone. PERSON 1 had

told PRYER that she should cooperate with the FBI. PERSON 1 had also spoken with

HENTSCHEL, who told PERSON 1 that the FBI could not prove she committed any crimes if she

(HENTSCHEL) refused to speak to them. PERSON 1 relayed that PERSON 1 told HENTSCHEL

that it was obvious that HENTSCHEL was in photographs taken from the U.S. Capitol, including

some posted to Facebook.

              On or about June 16, 2021, I attempted to interview PRYER at her residence.

PRYER declined to provide any information to the FBI because she did not want to incriminate

herself, though she did not think that she had done anything wrong. PRYER said she and

HENTSCHEL were no longer friends.

              On or about June 28, 2021, I interviewed PERSON 2 in person. PERSON 2 traveled

to Washington, D.C., with PERSON 1, PRYER, and HENTSCHEL. PERSON 2 is related to

PERSON 1 but had never met PRYER or HENTSCHEL before their trip to Washington, D.C.

PERSON 2 said that on January 6, 2021, PERSON 1 and PERSON 2 were separated from PRYER

and HENTSCHEL in the morning when they walked to the Washington Monument, prior to

President Trump’s speech. PERSON 1 and PERSON 2 walked towards the U.S. Capitol but did

not enter the Capitol or the restricted area. When PERSON 2 returned to the hotel, PRYER and

HENTSCHEL were already there. PRYER and HENTSCHEL did not discuss what they had done

on January 6 and PERSON 2 did not know if they went inside the Capitol.




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              On or about July 1, 2021, the FBI obtained a warrant to search HENTSCHEL’s

Facebook account. The records obtained from Facebook revealed a conversation between

HENTSCHEL and PERSON 3 that occurred on or about January 6, 2021, excerpts of which are

below:

         PERSON 3:          Hey were you there in that protest!! At the capitol

         HENTSCHEL:         Uh yeah dawg

         HENTSCHEL:         I’m here

         PERSON 3:          Ahhh that’s awesome!!!! I was looking for ya on tv! I didn’t see ya.
                            But y’all are out there getting it! Did you get inside the capitol?

         PERSON 3:          Well be safe cara and always have fun I support ya � good job!!!
                            Wished I could be there

         HENTSCHEL:         I was the first group in. Yes.

         HENTSCHEL:         We storm peloskis office and took her beer. She drinks Corona 3

         PERSON 3:          That’s wild I’m glad you didn’t get arrested wow that’s wild lol hell
                            yea

              The records obtained from Facebook also revealed a conversation between

HENTSCHEL and PERSON 4 that occurred on or about January 9, 2021, excerpts of which are

below:

         PERSON 4:          I heard you made it to the chambers.

         HENTSCHEL:         Ugh... yeah that’s a thing lol

         PERSON 4:          You really did?

         PERSON 4:          I was on the other side fighting for my freaking life.




         3
              The FBI has reviewed surveillance video footage from near Speaker of the House
Nancy Pelosi’s office and did not observe HENTSCHEL or PRYER entering Speaker Pelosi’s
office.

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       PERSON 4:              I’m beat to hell

       HENTSCHEL:             Not to the chambers, but I was inside

       PERSON 4:              Badass.

In response, HENTSCHEL sent a photo (Image 10) to PERSON 4:




                                            Image 10

Based on my investigation, and given the large number of people visible, including one person

wearing a helmet and goggles and others carrying flags, as well as the tall ceilings and chandelier,

I recognize this photo as depicting the inside of the U.S. Capitol on January 6, 2021.

               Neither HENTSCHEL nor PRYER were authorized to be inside the U.S. Capitol

on January 6, 2021.

               Based on the foregoing, your affiant submits that there is probable cause to believe

that HENTSCHEL and PRYER violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime


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to (1) knowingly enter or remain in any restricted building or grounds without lawful authority to

do so; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government

business or official functions, engage in disorderly or disruptive conduct in, or within such

proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or

disrupts the orderly conduct of Government business or official functions; or attempt or conspire

to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,

cordoned off, or otherwise restricted area of a building or grounds where the President or other

person protected by the Secret Service, including the Vice President, is or will be temporarily

visiting; or any building or grounds so restricted in conjunction with an event designated as a

special event of national significance.

               Your affiant submits that there is also probable cause to believe that HENTSCHEL

and PRYER violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and

knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive

conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,

disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the

orderly conduct in that building of a hearing before, or any deliberations of, a committee of

Congress or either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol

Buildings.



                                                     _________________________________
                                                     Isaac McPheeters
                                                     Special Agent
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P.
                                                                            2021.09.22
4.1 by telephone, this 22nd day of September 2021.
                                                                            14:41:39 -04'00'
                                                     ___________________________________
                                                     HONORABLE ROBIN M. MERIWEATHER
                                                     UNITED STATES MAGISTRATE JUDGE
                                                14
